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                           Nos. 2024-1003, 2024-1018

UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

                  GEOSCOPE TECHNOLOGIES PTE. LTD.,
                                              Plaintiff-Appellant,
                                        v.
                          GOOGLE LLC, APPLE INC.,
                                             Defendants-Appellees.

Appeals From the United States District Court for the Eastern District of Virginia,
         Nos. 1:22-cv-01331-MSN-JFA and 1:22-cv-01373-MSN-JFA,
                        Judge Michael S. Nachmanoff

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                  REPRESENTATIVE PATENT CLAIMS

U.S. Patent No. 8,406,753 – Claim 1

1.    A method of determining the location of a mobile device in a geographic
region comprising the steps of:

     (a) providing calibration data for each of one or more calibration
     points in a geographic region, said calibration data having one or more
     characterizing parameters;

     (b) generating one or more sets of grid points for said calibration
     data;

     (c) receiving at least one network measurement report from a mobile
     device at an unknown location in said geographic region;

     (d) evaluating said at least one network measurement report with
     each of said sets of grid points as a function of select ones of said
     characterizing parameters;

     (e) selecting a set of grid points as a function of a predetermined
     criteria; and

     (f)   determining the location of a mobile device in said geographic
     region as a function of said selected set of grid points.

U.S. Patent No. 7,561,104 – Claim 1

1.   A method for determining a location of a mobile station, comprising:

     providing a database of previously-gathered calibration data for a
     predetermined region in a wireless network, wherein said network
     includes a first transmitter and a second transmitter;

     collecting observed network measurement data including a first signal
     characteristic from said first transmitter and a second signal
     characteristic from said second transmitter;
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      determining which of said first and second signal characteristics has a
      greater magnitude;

      modifying said observed network measurement data using the greater
      magnitude signal characteristic; and

      comparing said modified network measurement data with said database
      of calibration data to thereby determine the location of the mobile
      station.

U.S. Patent No. 7,561,104 – Claim 2

2.    The method of claim 1 wherein said database comprises previously-
gathered calibration data for one or more non-uniform grid points within said
region.
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                        CERTIFICATE OF INTEREST

Counsel for Defendant-Appellee Apple Inc. certifies the following:

1.    The full name of every entity represented by me is:

      Apple Inc.

2.    The parties named in the caption are the real parties in interest.

3.    All parent corporations and any publicly held companies that own 10 percent
      or more of the stock of Appellee are as follows:

      None.

4.    The names of all law firms and the partners or associates that appeared for
      Appellee in the trial court or are expected to appear in this court (and who
      have not or will not enter an appearance in this case) are:

      GIBSON, DUNN & CRUTCHER LLP: Anthony David Brzozwski, II,
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5.    There are no other pending cases that may affect or be affected by this appeal.

6.    There are no organizational victims or bankruptcy case debtors or trustees in
      this appeal.



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Counsel for Defendant-Appellee Google LLC certifies the following:

1.    The full name of every entity represented by me is:

      Google LLC

2.    The parties named in the caption are the real parties in interest.

3.    All parent corporations and any publicly held companies that own 10 percent
      or more of the stock of Appellee are as follows:

      XXVI Holdings Inc.; Alphabet Inc.

4.    The names of all law firms and the partners or associates that appeared for
      Appellee in the trial court or are expected to appear in this court (and who
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5.    There are no other pending cases that may affect or be affected by this appeal.

6.    There are no organizational victims or bankruptcy case debtors or trustees in
      this appeal.



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                      STATEMENT OF RELATED CASES

      Pursuant to Federal Circuit Rule 47.5, counsel for Apple Inc. and Google LLC

state that no other appeal in or from either Geoscope Technologies Pte. Ltd. v.

Google LLC, No. 1:22-cv-01331- MSN (E.D. Va.) (“Google Action”) or Geoscope

Technologies Pte. Ltd. v. Apple Inc., No. 1:22-cv-01373-MSN (E.D. Va.) (“Apple

Action”) was previously before any appellate court. Although the appeals from the

Google and Apple Actions were initially docketed separately, they have been

consolidated. ECF No. 11.

      There are four pending related petitions for inter partes review (“IPR”) that

were filed before final judgment issued in the Google and Apple Actions,

challenging the four patents at issue in this appeal:

       Google LLC v. Geoscope Technologies Pte. Ltd., IPR2023-01209 (filed
        August 10, 2023)

       Google LLC v. Geoscope Technologies Pte. Ltd., IPR2023-01210 (filed
        August 10, 2023)

       Google LLC v. Geoscope Technologies Pte. Ltd., IPR2023-01211 (filed
        August 10, 2023)

       Google LLC v. Geoscope Technologies Pte. Ltd., IPR2023-01212 (filed
        August 9, 2023)

      There are two additional pending related IPR petitions that were filed after

final judgment issued in the Google and Apple Actions, and after Geoscope filed its

notice of appeal, challenging two of the patents at issue in this appeal:




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       Apple Inc. v. Geoscope Technologies Pte. Ltd., IPR2024-00031 (filed

         October 31, 2023)

       Apple Inc. v. Geoscope Technologies Pte. Ltd., IPR2024-00032 (filed

         October 31, 2023)

      There are two additional pending IPR petitions challenging two patents that

were asserted in the Google and Apple Actions, but are not at issue in this appeal:

       Google LLC v. Geoscope Technologies Pte. Ltd., IPR2023-01213 (filed
        August 9, 2023)

       Google LLC v. Geoscope Technologies Pte. Ltd., IPR2023-01214 (filed
        August 9, 2023)

None of these IPR proceedings has yet reached a decision on institution.




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                                INTRODUCTION

      This Court should affirm the district court’s judgment that the asserted claims

are not patent-eligible under 35 U.S.C. § 101. At the heart of the claims is the

concept of determining location based on data—an activity that humans have long

performed, even before the invention of computers. The claims require only broad,

basic functions, such as collecting, organizing, and analyzing data, to implement this

concept. Thus, as the district court explained, at Alice Step One the claims are

directed to the abstract ideas of “determining location based on data” (’104 Family)

and “determining an unknown location by comparing information about known

locations organized in a database against measurements from a mobile device” (’753

patent).1 Appx10; Appx20. At Alice Step Two, the claims lack an inventive concept

beyond that abstract idea because, for instance, they require only well-known and

conventional components such as a “database,” “processor,” or “circuitry”

functioning in their routine manner. Appx17-18; Appx22-23. The claims also fail

to specify how basic steps, such as “generating” grid points, are performed. Appx23.

      Contrary to Geoscope’s primary argument on appeal, the “grid point” data

element of the claims does not save the claims from ineligibility. As the district



1
 The term “’104 Family” refers to U.S. Patent Nos. 7,561,104 (the “’104 patent”),
8,400,358 (the “’358 patent”), and 8,786,494 (the “’494 patent”). The term “’753
patent” refers to U.S. Patent No. 8,406,753.


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court explained, a “grid point”2 merely requires organizing data, which itself is

abstract. Appx20-23. Geoscope fails to explain otherwise and, notably, makes no

attempt to distinguish the claims from the numerous claims to collecting, organizing,

and analyzing data, including to determine location, that this Court has held

ineligible. Instead, Geoscope incorrectly attempts to frame the claimed “grid points”

as a novel data structure—when they are nothing more than generically structured

data—and attempts to rely on elements found nowhere in the claims, conclusory

assertions, or additional abstract concepts. All are insufficient for patent eligibility.

                         STATEMENT OF THE ISSUES

      Whether the appealed claims of the ’753 patent and ’104 Family are patent-

ineligible under 35 U.S.C. § 101.

                           STATEMENT OF THE CASE

      These consolidated appeals arise from two separate lawsuits filed against

Google and Apple on November 22, 2022 and December 1, 2022, respectively.

Appx257-348; Appx352-442. In both cases, Geoscope asserted the same six patents:

U.S. Patent Nos. 7,561,104 (the “’104 patent”) (Appx51-70), 8,400,358 (the “’358

patent”) (Appx71-91), 8,786,494 (the “’494 patent”) (Appx92-111) (collectively,



2
 As discussed below, the district court construed “grid point” as “a point associated
with representative calibration data for an area.” Appx2752. The court construed
“calibration data” as “modified or unmodified network measurement data associated
with a geographic location.” Appx2740.

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 the “’104 Family”), 8,406,753 (the “’753 patent”) (Appx111-218), 9,097,784 (the

 “’784 patent”) (Appx219-235), and 8,320,264 (the “’264 patent”). Only the ’104

 Family and the ’753 patent are at issue in this appeal.

\.
       The Asserted Patents

       A.     The ’753 Patent

       The ’753 patent relates to a method and system for “determining the location

 of a mobile device in a geographic region,” and purports to add a technique for

 geolocating a mobile device. See, e.g., Appx187 (5:57-59, 6:8-10). The first step of

 the claimed method involves collecting “calibration data for a number of locations

 within a geographic region,” and then “gather[ing] and analyz[ing]” the data to

 associate the calibration data with “particular points (e.g., ‘grid points’) within the

 geographic region.”        Appx185 (2:26-35); infra pp. 8-10 (district court’s

 constructions of “grid point” and “calibration data”). In other words, the method

 uses a directory of known locations with associated calibration data. Next, the

 mobile device “to be geolocated” collects network signal measurements that “may

 be compared with the data associated with the various grid points [i.e., the directory]

 to estimate the location of the mobile device.” Appx185 (2:36-39).

       Stripped of jargon, the appealed claims of the ’753 patent, claims 1 and 32,

 are directed to a location-determination method in which a database of known




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locations is compiled and then compared to a mobile device’s network

measurements to estimate the mobile device’s location. The claims recite:

      1.     Collecting measurement data from various locations (“providing
             calibration data for each of one or more calibration points in a
             geographic region, said calibration data having one or more
             characterizing parameters”),

      2.     Organizing that measurement data into one or more directories of
             known locations (“generating one or more sets of grid points for said
             calibration data”),

      3.     Comparing received measurement data from a mobile device at an
             unknown location to the one or more directories of known locations
             (“receiving at least one network measurement report from a mobile
             device at an unknown location in said geographic region” and
             “evaluating said at least one network measurement report with each of
             said sets of grid points as a function of select ones of said
             characterizing parameters”),

      4.     Selecting the most suitable directory based on unspecified criteria
             (“selecting a set of grid points as a function of a predetermined
             criteria”), and

      5.     Comparing the received measurement data from the unknown location
             to the measurement data in the selected directory of known locations
             (“determining the location of a mobile device in said geographic region
             as a function of said selected set of grid points”).

Appx214 (59:14-31); see also Appx216 (63:49-67). As to the step of “generating

one or more sets of grid points for said calibration data,” calibration data is organized

such that representative calibration data for an area can be associated with a “grid

point.”    See, e.g., Appx189-190 (10:29-11:21); see also Appx2752.                 The

specification states that this can be accomplished by, for instance, “assign[ing]” the

calibration data to the “closest fixed grid point” or by using “increasingly stringent


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tests of statistical sufficiency.” Appx189-190 (10:29-11:21). Thus, a set of grid

points is akin to a directory into which calibration data is organized. See id. The

specification provides various options for accomplishing this result, but it does not

say that the data must be structured in any particular way. See Appx111-218. The

claims likewise require no particular structure.

      Claims 1 and 32 of the ’753 patent are independent claims: method claim 1

and system claim 32. The claims are materially the same, except that claim 32 recites

using a conventional “database” and “processor” as part of the method. Appx214

(59:14-31); Appx216 (63:49-67). Thus, the claims are not specific to any particular

type of location technology, whether software or hardware. Rather, they are directed

to the idea of compiling different types of data into a collection against which new

data (i.e., the network measurements taken by the mobile device of an unknown

location) can be compared. Appx214 (59:14-31); Appx216 (63:49-67). The claims

do not specify any specific method of organizing the historical calibration data as

part of the “generating” step, and thus do not specify how the compilations are made

or how the recited grid points are generated and structured. The claims likewise do

not specify how new data is compared to the historical data.

      B.     The ’104 Family

      The ’104 Family claims priority to the same provisional application as the

’753 patent. Appx51; Appx71; Appx92; Appx111. The patents in the ’104 Family



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share the same specification and purport to add a technique for geolocating a mobile

device. Appx51-110. The patents relate to determining the location of a “mobile

station” (e.g., a mobile device like a cell phone) using observed network data and

previously collected “calibration data,” such as “signal strength, round trip time,

time difference of arrival (TDOA), etc.” Appx92 (Abstract); Appx103 (1:28-31).3

      The ’104 Family patents concede that prior art mobile devices were already

capable of using observed data at an unknown location, along with previously

collected calibration data at known locations, to determine the device’s location.

Appx103 (1:20-39). The patents state that when data was collected indoors, “the

signal strengths of signals received from the serving and/or neighboring base stations

tend[ed] to be lower than the strength of the signals received by a wireless device

located outdoors.” Id. at 1:40-43. The patents also state that the lower signal

strengths indoors could cause poor location estimates, and propose “[m]odifying the

calibration data obtained outdoors” as “a way to simulate indoor calibration data

characteristics.” Id. at 1:48-49.

      The claims of the ’104 Family themselves, however, are not limited to

modifying outdoor calibration data to account for devices located indoors. Instead,

the claims just recite “modifying” observed network measurement data before using



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  Citations are to the ’494 patent, but the ’358 and ’104 patents share the same
disclosures.

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that modified data to determine location.        The specification states that this

“modifying” step can be achieved by “subtracting or adding” to and from the data.

Appx106 (7:7-10). The claims themselves do not specify how to modify the data.

      The appealed claims are all dependent claims: claim 2 of the ’104 patent,

claim 18 of the ’358 patent, and claims 4 and 26 of the ’494 patent. These claims

involve materially the same functions. To illustrate the functions that are recited in

these dependent claims’ corresponding independent claim limitations, below is

claim 1 of the ’494 patent, which is not at issue on appeal but is the independent

claim from which appealed claim 4 depends:

      1.     Providing a database of data (“providing a database of
             previously-gathered calibration data for a predetermined region
             in a wireless network;”),

      2.     Collecting different data (“collecting observed network
             measurement data, the observed network measurement data
             collected by the mobile station and transmitted to the network or
             collected by the network;”),

      3.     Modifying the collected data in an unspecified manner
             (“modifying said observed network measurement data; and”),
             and

      4.     Comparing the data to the database determine a location
             (“comparing said modified network measurement data with said
             database of calibration data to thereby determine the location of
             the mobile station.”).

Appx108 (12:10-22). As shown above, the claims do not specify how to perform

these functions.



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      In addition, each of the appealed claims adds the same limitation: “wherein

said database comprises previously-gathered calibration data for one or more non-

uniform grid points within said region.” Appx67 (Cl. 2), Appx90 (Cl. 18), Appx108

(Cl. 4), Appx109 (Cl. 26). The specification states that non-uniform grid points (like

the “grid points” in the ’753 patent claims) “represent an area of collected calibration

data,” but that a non-uniform grid may consist of points that are not evenly

distributed. Appx104 (3:65-67). The claims do not specify how the non-uniform

grid points are created or structured, and recite only “provid[ing]” a database

comprising them.

      The appealed claims have a few minor differences between them.                For

example, claim 1 of the ’358 patent recites “circuitry” to carry out the functions of

collecting, modifying, and comparing data.         Appx90 (13:7-18, 13:27-29).       In

addition, claim 2 of the ’104 patent and claim 26 of the ’494 patent each recite

mathematical concepts: “determining which” of two signal characteristics “has a

greater magnitude” and “determining an average value” of selected signal

characteristics, respectively. Appx67 (11:66-12:18); Appx109 (14:7-23).

 n.   The District Court’s Claim Construction Order

      On July 19, 2023, the district court issued its claim construction order, which




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defined certain terms of the claims on appeal. Appx2733-2766.4 Geoscope does not

challenge the district court’s construction of any term.

      For instance, relevant to all of the claims on appeal, the district court construed

the term “grid point” to mean “a point associated with representative calibration data

for an area.” Appx2752. Geoscope argued that the term can refer to a “location”

and that it can be “associated with” calibration data, rather than being “representative

of” calibration data. Appx2751. The court rejected Geoscope’s arguments, noting

that the passage from the specification’s Abstract on which Geoscope relied did not

answer the relevant question of “what a grid point is,” and instead relates to how

grid points are created. Id. In adopting Defendants’ proposed construction, the

district court observed that the ’104 Family specification discusses that non-uniform

grid points, or NUGs, “represent[] the signal characteristics and/or calibration data

over a given region.” Id. The court thus reasoned that the grid point is not the region

itself, and instead is a point that is representative of an area. Appx2751-2752.

      Also relevant to all of the claims on appeal, the district court construed

“calibration data” to mean “modified or unmodified network measurement data

associated with a geographic location.” Appx2740. The court rejected Geoscope’s




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  For ease of reference, citations are to the memorandum opinion issued in the
Google case, which is substantively identical to the memorandum in the Apple case
(Appx2767-2800).

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argument that calibration data is broader than network measurement data and is not

required to be associated with a geographic location. Appx2738-2740.

       The district court also construed the terms “observed network measurement

data” and “position determining equipment” from certain claims of the ’104 Family

and “network measurement report” and “evaluating said at least one network

measurement report . . .” from certain claims of the ’753 patent. Appx2741-2756.

Geoscope does not challenge the court’s constructions, and does not contend that

these constructions are material to the Section 101 issues on appeal.

III.   The District Court’s Grant of Judgment on the Pleadings

       On June 27, 2023, after they had answered their respective complaints,

Defendants filed a motion for judgment on the pleadings, explaining that all of the

asserted claims, including those of the ’753 patent and ’104 Family, are not patent-

eligible under Section 101.5 Appx2374-2420 at Appx2386-2402; Appx2801-2832

at Appx2809-2823; Appx446-483; Appx484-548. As noted, the district court issued

its claim construction order on July 19, 2023. Appx2733-2766. On September 18,



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  In view of the district court’s claim construction order, the parties stipulated to
judgment of noninfringement of the ’264 patent claims and invalidity of the ’784
patent claims and certain claims of the ’104 Family that are not at issue in this appeal.
Appx2937-2941, Appx2942-2947. The district court entered partial judgment based
on that stipulation. Appx2948-2949, Appx2950-2951. Thus, the district court’s
decision on the Rule 12(c) motion addressed only the remaining asserted claims of
the ’753 patent and ’104 Family. Appx25.


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2023, after an August 11, 2023 hearing, the court granted Defendants’ motion and

issued a 23-page opinion detailing its analysis of the claims’ invalidity under Section

101.6 Appx1-23; Appx47-48; Appx2867-2936.

       A.     ’104 Family

       The district court first addressed the then-asserted claims of the ’104 Family:

claims 1 and 2 of the ’104 patent, claims 15 and 18 of the ’358 patent, and claims 1,

4, 25, and 26 of the ’494 patent. Appx5-18. The court did not agree with Defendants

that claim 1 of the ’494 patent is representative of the ’104 Family claims. Appx8-

9. The court thus “address[ed] the distinguishing characteristics of” the various

claims separately. Id. After its claim-by-claim analysis, the court ultimately

determined that “notwithstanding these distinctions,” all of “the asserted claims are

still not patent eligible.” Id.

       Alice Step One. The court held that the claims are “directed to the abstract

idea of determining location based on data.” Appx10. The court explained that

“[t]he claim recites a method for ‘determining a location of a mobile station’ by (1)

‘providing a database’ of previously-collected data; (2) ‘collecting’ observed

network measurement data, (3) ‘modifying’ that data; and (4) ‘comparing’ the

modified data with the database.” Appx10. The court stated that this “basic function


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  For ease of reference, citations are to the memorandum opinion issued in the
Google case, which is substantively identical to the memorandum in the Apple case
(Appx24-46).

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of determining location based on the collection and analysis of data has been

performed by humans throughout history.” Appx10.

      The court observed that this Court has in numerous instances held ineligible

claims that similarly required “the mere collection, analysis, and outputting of data,”

including for the purpose of location determination. Appx10-11 (citing Int’l Bus.

Machines Corp. v. Zillow Grp., Inc., 50 F.4th 1371, 1378 (Fed. Cir. 2022); Elec.

Power Grp. LLC v. Alstom S.A., 830 F.3d 1350, 1353-54 (Fed. Cir. 2016); Content

Extraction & Transmission LLC v. Wells Fargo Bank, Nat. Ass’n, 776 F.3d 1343,

1347 (Fed. Cir. 2014); Interval Licensing LLC v. AOL, Inc., 896 F.3d 1335, 1345

(Fed. Cir. 2018); Automated Tracking Sols., LLC v. Coca-Cola Co., 723 F. App’x

989, 991 (Fed. Cir. 2018)); Appx15. The court held that, like the ineligible claims

in those cases, the asserted claims of the ’104 Family “focus on the abstract concept

of data collection and modification for the purpose of geolocation of mobile

devices.” Appx11.

      In addition, contrary to Geoscope’s assertions, the court held that the “asserted

claims here do not require the use of technology in an unconventional manner” or

“an unconventional configuration of components.” Appx12. The court stated,

“Geoscope’s purported technological improvement is simply the modification of

data, which is itself an abstract idea that is not patent eligible.” Id.




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      The court further rejected Geoscope’s argument that “the asserted claims

improve on conventional geolocation methods by ‘modifying the observed data to

account for’ disparities between calibration data (typically collected outdoors) with

data collected indoors, as well other disparities caused by various environmental

factors.” Appx13. In particular, the court held that “the asserted claims themselves

are not so limited.” Id. The court explained that although “Geoscope identifie[d]

some language in the specification and the Complaint about the elimination of

disparities in collecting and comparing indoor and outdoor data, its arguments are

not tethered to the asserted claims themselves.” Id. (internal citations and quotations

omitted). The court held that the claims “simply recite[] a method whereby one must

‘modify[] said observed network measurement data,’ without any specificity as to

how to carry out the ‘modifying’ function.” Id.

      The court then specifically addressed the additional elements found in the

appealed claims of the ’104 Family: dependent claims 2 of the ’104 patent, claim

18 of the ’358 patent, and claims 4 and 26 of the ’494 patent. Appx15-17. For

example, the court determined that additional elements in certain of the claims did

not change its conclusion because these limitations are simply additional “abstract

ideas or well-known or conventional components used in a normal manner”—e.g.,

“circuitry” in claim 18 of the ’358 patent, “determining the greater of two signal




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characteristics” in claim 2 of the ’104 patent, and “comput[ing] the average of

different signal characteristics” in claim 26 of the ’494 patent. Appx16.

      The court also addressed the “grid point” limitation shared by all of the

appealed claims: “wherein said database comprises previously-gathered calibration

data for one or more non-uniform grid points within said region.” Appx16-17. The

court held that this limitation also does not save the claims from ineligibility, as they

“merely involve collecting a certain kind of data without requiring a new or

improved manner of collecting, using, or creating that data.” Id. The court further

explained that these claims “do not articulate with specificity how the grid points are

determined or analyzed.” Appx17.

      Alice Step Two. At Alice Step Two, the district court held that “none of the

asserted claims of the ’104 Patent Family advance an inventive concept amounting

to ‘significantly more’ than the abstract idea.” Appx17-18. The court rejected

Geoscope’s argument that “the modification of the data supplies the inventive

concept,” determining that “Geoscope fails to identify facts showing that the step of

‘modifying’ data as recited in the claims requires any specific technological

improvement.” Appx17. The court also held that the “non-uniform grid point”

element in the appealed claims likewise does not add an inventive concept, stating

that it had “already explained” in its Alice Step One analysis “that the language of

the claims invoking grid points does not specify how grid points are generated or



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analyzed,” and that the claims do not “recite using the data in a novel or improved

manner.” Appx18.

      B.     ’753 Patent

      The district court then turned to the ’753 patent, and held that those asserted

claims also are not patent-eligible. Appx19-23. At the outset of its analysis, the

court explained that its “discussion of patent eligibility as to the asserted claims of

the ’753 Patent overlap[s] considerably with the ’104 Patent Family analysis,” and

thus incorporated its earlier ’104 Family analysis that “data collection claims . . . are

directed to abstract ideas that are patent ineligible under § 101.” Appx20.

      Alice Step One. The court held that the claims “are directed to the abstract

idea of determining an unknown location by comparing information about known

locations organized in a database against measurements from a mobile device.”

Appx20. The court explained that the claims “merely purport to collect and organize

data in a reference database and to compare data received from an unknown location

to data in the selected database of known locations.” Appx20.

      In addition to other cases, including those discussed with respect to the ’104

Family, the court also observed that the ’753 patent claims are particularly similar

to the ineligible location-determination claims in Sanderling Management. Ltd. v.

Snap Inc., 65 F.4th 698, 701-03 (Fed. Cir. 2023). Appx20-21. As the district court

observed, this Court held that the Sanderling claims were “directed to the abstract



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idea of providing information—in this case, a processing function—based on

meeting a condition, e.g., matching a GPS location indication with a geographic

location.” Appx20-21 (quoting 65 F.4th at 703) (internal quotation marks omitted).

      Furthermore, the district court explained that, although Geoscope attempted

to rely on the claimed “generation of grid points as supplying a specific technological

improvement . . . [,] the language of the asserted claims does not support Geoscope’s

position, as the claims recite no specific solution to make the alleged improvement

concrete.” Appx21. The court held that, rather than “focus[ing] on a specific means

or method that would improve the relevant technology . . . [,] the asserted claims are

drafted at a high level of generality.” Appx21-22. The court also rejected “each of

Geoscope’s assertions regarding the novelty of grid points,” holding that, contrary

to Geoscope’s arguments, “nothing in the claims requires the grid points to be

(1) arranged in a ‘denser ‘map’ of known locations,’ (2) ‘determined from the

analysis of calibration data,’ or (3) organized in any specific format.” Appx22

(internal citations omitted).

      Alice Step Two. The court held that the claims lack an inventive concept

because, for instance, they require only conventional components that function in

their routine manner, such as a “database” and a “processor.” Appx22-23. In

addition, again rejecting Geoscope’s reliance on the “grid point” element of the

claims, the court explained that the claims do not provide “any limitation on how the



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grid points are generated.”     Appx23.     Indeed, the court held, “[e]ach of the

limitations of the asserted claims is broadly written, providing no boundaries or

guidance on what that function is or how it is to be performed.” Id. The court further

determined that the “claims here do not require ‘a new source or type of information,

or new techniques for analyzing it.’” Appx22-23 (citation omitted).

      Before the hearing on Defendants’ Rule 12(c) motion, the district court issued

its claim construction order, which adopted Defendants’ proposed construction of

the term “grid point” to mean “a point associated with representative calibration data

for an area.” Appx2752. Although Geoscope raised the construction at the hearing,

it did not submit supplemental briefing arguing that this construction changed any

of its arguments. Indeed, the construction only underscores the district court’s ruling

that “nothing in the claims requires the grid points to be (1) arranged in a ‘denser

‘map’ of known locations,’ (2) ‘determined from the analysis of calibration data,’ or

(3) organized in any specific format.” Appx22. The court, and the parties, were

well aware of what the term meant when the court issued its order holding the claims

patent-ineligible.

                           SUMMARY OF ARGUMENT

      This Court should affirm the district court’s judgment that the claims of the

’753 patent and the ’104 Family at issue on appeal are not patent-eligible under

Section 101. Appx1-23.



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      I.     As to the ’753 patent, the district court correctly held at Alice Step One

that the claims are directed to “the abstract idea of determining an unknown location

by comparing information about known locations organized in a database against

measurements from a mobile device.” Appx20. The claims require only the basic

functions of collecting, organizing, and analyzing data to determine a location.

Appx20; Appx10.        The court also properly rejected Geoscope’s “assertions

regarding the novelty of grid points,” which Geoscope repeats on appeal. Appx22.

Contrary to these assertions, “nothing in the claims requires the grid points to be

(1) arranged in a ‘denser ‘map’ of known locations,’ (2) ‘determined from the

analysis of calibration data,’ or (3) organized in any specific format.” Id.

      At Alice Step Two, the district court correctly held that the claims lack any

inventive concept. Appx22-23. The claims provide no specific boundaries or

guidance as to how to perform the basic functions they recite, and thus require no

particular technological improvement. Appx23; Yu v. Apple Inc., 1 F.4th 1040, 1043

(Fed. Cir. 2021) (patent eligibility determination “must focus on the language of the

[a]sserted [c]laims themselves,” and unrecited features are irrelevant to the analysis)

(quoting TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1292 (Fed. Cir. 2020)

(alterations in original)).   Indeed, the only components for performing these

functions found in either of the claims are nothing more than a conventional

“database” and “processor” operating as intended. Appx23.



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      II.    As to the ’104 Family, the district court correctly held at Alice Step One

that the claims are directed to the abstract idea of “determining location based on

data.” Appx10. These claims “focus on the abstract concept of data collection and

modification for the purpose of geolocation of mobile devices.” Appx11. The court

properly rejected Geoscope’s two primary arguments, which Geoscope repeats on

appeal. First, as with the ’753 patent, Geoscope relies heavily on the “grid point”

limitation of the ’104 Family claims to again argue that the “grid points” are

“unconventional data structures” that provide a “denser” map of known locations for

use in geolocation. Br. 58-61. But this element of “gathering calibration data for

non-uniform grid points” “merely involve[s] collecting a certain kind of data without

requiring a new or improved manner of collecting, using, or creating that data,” and

the claims are silent on how the “grid points” should be structured. Appx16-17.

Second, Geoscope argues that the step of “modifying” data confers patent eligibility

because it unconventionally eliminates disparities between indoor and outdoor data.

Br. 57. The claims recite no such requirement; indeed, the appealed claims do not

even use the words “indoor” or “outdoor.”           Appx12-13.    And in any event,

“modifying” data itself is abstract. Id.

      At Alice Step Two, the district court correctly held that the claims lack any

inventive concept. Appx17-18. As to the appealed claims specifically, the court

held that the “grid points” element is insufficient to confer an inventive concept



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 because the claims do “not specify how grid points are generated or analyzed,” or

 “recite using the data in a novel or improved manner.” Appx18.

                                    ARGUMENT

       Standard of Review
I.
       This Court reviews a “district court’s ultimate conclusion on patent eligibility

 de novo.” Simio, LLC v. FlexSim Software Prods., Inc., 983 F.3d 1353, 1359 (Fed.

 Cir. 2020) (citation omitted).

       Although patent eligibility “may involve underlying questions of fact,” “not

 every § 101 determination contains genuine disputes over the underlying facts

 material to the § 101 inquiry.” PersonalWeb Techs. LLC v. Google LLC, 8 F.4th

 1310, 1314 (Fed. Cir. 2021) (citation omitted). Thus, “[l]ike other legal questions

 based on underlying facts, this question may be, and frequently has been, resolved

 on a Rule 12(b)(6) or (c) motion where the undisputed facts, considered under the

 standards required by that Rule, require a holding of ineligibility under the

 substantive standards of law.” SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1166

 (Fed. Cir. 2018). This Court also has upheld a grant of judgment on the pleadings

 on the basis of patent ineligibility after claim construction has occurred. See, e.g.,

 PersonalWeb Techs., 8 F.4th at 1313-14, 1319.




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II.   The Claims of the ’753 Patent Are Not Patent-Eligible

      Under the two-step Alice framework for determining patent eligibility, Step

One asks whether the claims are directed to an ineligible “concept,” such as an

“abstract idea.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 573 U.S. 208, 217-18

(2014). If so, Step Two asks whether the claims recite a specific “inventive concept”

that “amounts to significantly more than a patent upon the [abstract idea] itself.” Id.

(citation omitted). At both steps, the asserted claims of the ’753 patent are not

patent-eligible.

      A.     The Claims Fail Alice Step One

      1.     The district court correctly held that the asserted claims of the ’753

patent are directed to “the abstract idea of determining an unknown location by

comparing information about known locations organized in a database against

measurements from a mobile device.” Appx20. As shown below in claim 1, at the

heart of these claims is nothing more than the broadly recited functions of collecting,

organizing, and analyzing data to determine a location (supra at pp. 4-5):

             Claim 1 of the ’753 patent                          Function
 A method of determining the location of a mobile      Abstract idea of determining
 device in a geographic region comprising the steps    a mobile device’s location
 of:                                                   based on data
 (a) providing calibration data for each of one or
 more calibration points in a geographic region,
                                                       Collecting data
 said calibration data having one or more
 characterizing parameters;
 (b) generating one or more sets of grid points for
                                                       Organizing data
 said calibration data;


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 (c) receiving at least one network measurement
 report from a mobile device at an unknown               Collecting data
 location in said geographic region;
 (d) evaluating said at least one network
 measurement report with each of said sets of grid
                                                         Analyzing data
 points as a function of select ones of said
 characterizing parameters;
 (e) selecting a set of grid points as a function of a
                                                         Analyzing data
 predetermined criteria; and
 (f) determining the location of a mobile device in
 said geographic region as a function of said            Analyzing data
 selected set of grid points.

      As shown above, “the limitations of the asserted claims are drafted at a high

level of generality that they are themselves directed at abstract concepts.” Appx21-

22.   For example, although the claims recite “providing calibration data,”

“generating one or more sets of grid points for calibration data,” and “selecting a set

of grid points as a function of a predetermined criteria,” the claims fail to specify

how the calibration data is provided or what it contains; how the grid points are

generated or structured; or what the “predetermined criteria” are. See Elec. Power,

830 F.3d at 1355 (“[The] [i]nquiry therefore must turn to any requirements for how

the desired result is achieved.”). In addition, the claims recite “evaluating” a

“network measurement report,” “selecting a set of grid points,” and “determining

the location of a mobile device” as a “function” of a “parameter,” “predetermined

criteria,” or “selected set of grid points,” respectively. But the claims do not specify

what functions are actually required to perform those steps. Thus, the claims lack

“the specificity required to transform a claim from one claiming only a result to one

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claiming a way of achieving it.” SAP, 898 F.3d at 1167; see also Hawk Tech. Sys.,

LLC v. Castle Retail, LLC, 60 F.4th 1349, 1358 (Fed. Cir. 2023) (holding ineligible

claims that “fail to recite a specific solution to make the alleged improvement . . .

‘concrete’ and at most recite abstract data manipulation”); Appx21.

      The claims thus do not provide a concrete solution to geolocation, and at their

core they merely require collecting, organizing, and analyzing data to determine

location. But this is a “basic function” that “has been performed by humans

throughout history,” even before the invention of computers. Appx10; Appx20.7

For instance, humans have long been able to determine their location based on

visible landmarks and other information they can perceive in their environment (e.g.,

the location of a mountain or building, stars, or sounds of running water).

      As the district court correctly recognized, this Court has held ineligible claims

that were similarly directed to the “mere collection, analysis, and outputting of data,”

including for the purpose of determining location. Appx10-11 (citing, e.g., Content

Extraction, 776 F.3d at 1347; Automated Tracking Sols., 723 F. App’x at 991; IBM,

50 F.4th at 1378; Elec. Power, 830 F.3d at 1353-54 (holding ineligible claims to


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 Given the overlap of the concepts to which the ’753 patent and ’104 Family claims
are directed, for its ’753 patent analysis the district court expressly applied and built
upon its earlier analysis regarding the ’104 Family claims. Appx20. Thus,
Geoscope’s repeated criticism of the length of the court’s analysis as to the ’753
patent should be rejected. See, e.g., Br. 33, 39, 53; Tesco Corp. v. Nat’l Oilwell
Varco, L.P., 804 F.3d 1367, 1379 (Fed. Cir. 2015) (“As . . . we have noted in many
contexts, Courts of Appeals review judgments, not opinions.”).

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“collecting information, analyzing it, and displaying certain results of the collection

and analysis”)). For example, the claims of the ’753 patent are similar to the

ineligible Content Extraction claims that were directed to “data collection,

recognition, and storage” (776 F.3d at 1347); the ineligible Automated Tracking

Claims that were focused on “collecting data from sensors, analyzing that data, and

determining results based on the analysis of data” for the purpose of “locating,

identifying, and/or tracking of an object” (723 F. App’x at 991, 993); and the

ineligible IBM claims that were directed to “collect[ing] information” and

“comprehending the meaning of that collected information[] and indication of the

results” to perform a “method for coordinated geospatial and list-based mapping”

(50 F.4th at 1375, 1378 (citation omitted)). Appx10-11; see also Appx20-21.

      As the district court also correctly recognized, the ’753 patent claims are

particularly similar to the ineligible claims in Sanderling, which were directed to

determining location based on data collected and organized in a database. Appx20-

21 (citing 65 F.4th at 701-03). The Sanderling claims “required ‘access[ing] a

database storing’ various functions associated with ‘a geographic location,’

‘receiving . . . a Global Positioning System (GPS) location indication from each of

a plurality of mobile devices,’ ‘matching . . . each said GPS location indication with

said geographic location’ in the database, and then selecting a ‘digital image

processing function’ for use based on the geographic location.” Appx21 (quoting



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Sanderling, 65 F.4th at 701-02). This Court held that the claims were directed to the

abstract idea “‘of providing information—in this case, a processing function—based

on meeting a condition,’ e.g., matching a GPS location indication with a geographic

location.” Id. (quoting 65 F.4th at 703).

      Here, the asserted claims of the ’753 patent are even simpler than those in

Sanderling. The ’753 patent claims require nothing more than organizing reference

data into a database and then determining a geographic location based on

information stored in that database. See Berkheimer v. HP Inc., 881 F.3d 1360, 1366

(Fed. Cir. 2018) (holding ineligible claims “directed to the abstract idea of using a

generic computer to collect, organize, compare, and present data” (internal quotation

marks omitted)). Thus, as with the ineligible claims in Sanderling and numerous

other cases, the ’753 patent claims are directed to an abstract idea. Appx20-22.

      2.     Geoscope does not dispute the district court’s holding that the claims

of the ’753 patent broadly recite the concepts of collecting, organizing, and

analyzing data to determine location. Appx20-21. Nor does Geoscope dispute that

these concepts are “long-prevalent” methods of “organizing human activity,” or that

the claims themselves fail to specify precisely how to perform them. Appx10,

Appx20-22 (additionally incorporating its discussion at Appx10-11); see, e.g.,

Realtime Data LLC v. Array Networks Inc., Nos. 2021-2251, -2291, 2023 WL

4924814, at *9-10 (Fed. Cir. Aug. 2, 2023) (nonprecedential) (holding ineligible



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claims that failed to “explain how to” perform “data manipulation” functions and

instead were “recited at a high ‘level of result-oriented generality’”) (quoting

Koninklijke KPN N.V. v. Gemalto M2M GmbH, 942 F.3d 1143, 1152 (Fed. Cir.

2019)). In addition, Geoscope ignores the “common law methodology” approach to

patent-eligibility determinations and makes no attempt to distinguish—or even

address—Sanderling and the district court’s numerous other cited cases involving

ineligible claims to collecting, organizing, and analyzing data, including for the

purpose of determining location. Appx20-21; Appx10-11; cf. In re Killian, 45 F.4th

1373, 1383 (Fed. Cir. 2022) (reiterating the “common law methodology” approach

to “decid[ing] cases arising under § 101 through comparison to . . . prior opinions”)

(internal quotation marks and citation omitted).

      Instead, Geoscope offers four principal arguments challenging the district

court’s judgment. Br. 33-51. All of them fail.

      2a.    Geoscope’s lead argument is that the district court held in its claim

construction order that the term “grid point” must require “analyzing calibration

data” but then did not “address—or even consider—its claim constructions” in its

Step One analysis. Br. 34-40. This is nothing more than misdirection. Geoscope’s

characterization of the district court’s construction is both wrong and irrelevant. As

an initial matter, despite citing several cases to allegedly support its argument (Br.

34-35), Geoscope identifies no precedent requiring a district court to expressly



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address its earlier-issued claim constructions in its later Section 101 analysis. See

Tesco, 804 F.3d at 1379 (“Courts of Appeals review judgments, not opinions.”).

      For instance, Geoscope cites MyMail, Ltd. v. ooVoo, LLC, 934 F.3d 1373

(Fed. Cir. 2019), but there the Court instructed only that “if the parties raise a claim

construction dispute at the Rule 12(c) stage, the district court must either adopt the

non-moving party’s constructions or resolve the dispute to whatever extent is needed

to conduct the § 101 analysis.” 934 F.3d at 1379. Here, by contrast, the district

court had already resolved all possible claim construction disputes in its Markman

order nearly two months before issuing its ruling on Defendants’ Rule 12(c) motion.

Appx2733-2766. Indeed, in opposing Defendants’ motion, Geoscope raised no

additional claim construction disputes beyond those already before the court in

Markman proceedings. Appx2656-2676. Geoscope only suggested for the first time

at the hearing on Defendants’ Rule 12(c) motion that the district court’s construction

of “grid point” rendered the appealed claims patent-eligible. Appx2900; Appx2926-

2927. Geoscope forfeited this argument by failing to raise it in its briefing, even

after Defendants had urged that construction throughout Markman proceedings.

SmartGene, Inc. v. Advanced Bio. Lab’ys, SA, 555 F. App’x 950, 954 (Fed. Cir.

2014) (“It is well established that arguments that are not appropriately developed in

a party’s briefing may be deemed waived.”).           But, in any case, the court’s

construction does not affect—and indeed only underscores—its determination that



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the claims do not “requir[e] a new or improved manner of collecting, using, or

creating . . . data,” and “do not articulate with specificity how the grid points are

determined or analyzed.” Appx16-18; see Appx22-23.

      The district court’s reasoning only highlights the liberties Geoscope is taking

in characterizing the court’s construction of “grid point” on appeal. Contrary to

Geoscope’s argument, the court never construed “grid point” to require specifically

analyzing calibration data.    Nor did either party propose such a construction.

Appx2750-2752. Instead, the court’s “final construction” of the term “grid point”

was simply: “a point associated with representative calibration data for an area.”

Appx2751-2752. Geoscope relies heavily on a passing reference in the court’s order

to “what must be done to arrive” at a grid point. Br. 37 (citing Appx2751). But in

that passage, the court was merely rejecting Geoscope’s reliance on the Abstract’s

reference to analyzing calibration data, explaining that this single statement in the

Abstract was not relevant to answering the question at issue for the construction of

“grid point”: defining “what a grid point is.” Appx2751. The passage was not

incorporated into the court’s construction of the term “grid point,” and neither

Geoscope nor Defendants argued that it should be. Lest there be any doubt, the

district court removed it when it issued its Rule 12(c) order two months later noting




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that the claims “do not articulate with specificity how the grid points are determined

or analyzed.” Appx17.8

      Even if Geoscope were right about the district court’s construction,

however—and it is not—that construction is fully consistent with its decision

holding the claims patent-ineligible under Section 101. The mere observation that

“grid points” require analyzing “calibration data” (which is wrong for the reasons

above) does not save them from ineligibility because mere data analysis or

identification of the type of data to be analyzed is itself abstract and does not confer

eligibility, as this Court has repeatedly held. See, e.g., Elec. Power, 830 F.3d at

1353-55 (ineligible claims involving “analyzing information”); Automated

Tracking, 723 F. App’x at 993 (ineligible claims to “collecting data from sensors”

and “analyzing that data”). This Court likewise has explained that “[a]s many cases

make clear, even if a process of collecting and analyzing information is ‘limited to

particular content’ or a particular ‘source,’ that limitation does not make the

collection and analysis other than abstract.” SAP, 898 F.3d at 1168 (quoting Elec.

Power, 830 F.3d at 1353, 1355). Consistent with this precedent, the district court



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  Geoscope has not appealed the court’s construction of “grid point” (or any other
aspect of the claim construction order) to append a requirement of analyzing
calibration data. Because it did not raise such an argument below, it is now forfeited.
TVIIM, LLC v. McAfee, Inc., 851 F.3d 1356, 1363 (Fed. Cir. 2017) (“[A] party may
not introduce new claim construction arguments on appeal or alter the scope of the
claim construction positions it took below.”) (citation omitted).

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correctly observed in its ruling that “the element of data analysis . . . must be directed

to a specific solution to make an alleged improvement concrete and that would

‘transform [the] claim from one claiming only a result to one claiming a way of

achieving it.’” Appx21 (quoting SAP, 898 F.3d at 1167) (emphasis in original).

Here, Geoscope fails to explain how the concept of analyzing calibration data

contributes a specific, concrete, and non-abstract improvement that would save the

claims from ineligibility. See Br. 34-40.

      2b.    Geoscope also contends that the district court erred by rejecting

Geoscope’s assertion that the claims require arranging grid points “in a ‘denser

‘map’ of known locations.’” Br. 43. Geoscope argues that the claimed grid points

differ from “conventional grids,” which Geoscope says “are predefined—

independently of any calibration data.” Br. 44.

      Geoscope’s argument fails for several reasons. To begin, nothing in the

claims requires that the recited “grid points” provide a “denser ‘map’ of known

locations.” Appx22. The claims are silent on the relationship between the grid

points and the number of known locations.              Because the patent eligibility

determination “must focus on the language of the [a]sserted [c]laims themselves,”

Yu, 1 F.4th at 1043 (quoting TecSec, 978 F.3d at 1292), such unrecited features “are

irrelevant” to the analysis, Am. Axle & Mfg., Inc. v. Neapco Holdings LLC, 967 F.3d

1285, 1293 (Fed. Cir. 2020).



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      Regardless, simply having more data points (more information) in a given

map area—“a denser ‘map’” (Br. 43)—is itself an abstract concept. See Elec. Power,

830 F.3d at 1355; SAP, 898 F.3d at 1167 (“‘Information as such is an intangible,’

hence abstract . . .”) (citing Elec. Power, 830 F.3d at 1353). Indeed, Geoscope’s

own argument highlights this fundamental problem, conceding that being “arranged

in a ‘denser map’ of known locations” is merely a “concept [that] is inherent in the

claimed grid points.” Br. 43 (emphasis added). This Court has held that “[a]dding

one abstract idea . . . to another abstract idea . . . does not render [a] claim non-

abstract.” RecogniCorp, LLC v. Nintendo Co., 855 F.3d 1322, 1327 (Fed. Cir. 2017).

Here, adding the abstract concept of having more data points in a given map area to

the other abstract ideas of collecting, organizing, and analyzing data to determine

location does not “render the claim[s] non-abstract.” Id.

      This Court also should reject Geoscope’s argument that the claimed grid

points provide an advance beyond “conventional grids” because the conventional

grids were “predefined—independently of any calibration data.” Br. 44. As a

preliminary matter, Geoscope’s argument is entirely conclusory and was never

raised in the district court.   It therefore is forfeited.   Forest Lab’ys, LLC v.

Sigmapharm Lab’ys, LLC, 918 F.3d 928, 933 & n.1 (Fed. Cir. 2019) (holding that

the appellant forfeited the argument that claim construction would render a claim

indefinite); Vanda Pharm. Inc. v. W.-Ward Pharm. Int’l Ltd., 887 F.3d 1117, 1137



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(Fed. Cir. 2018) (“The Supreme Court has observed that as a ‘general rule . . . a

federal appellate court does not consider an issue not passed upon below.’”) (citing

Singleton v. Wulff, 428 U.S. 106, 120 (1976)); Cisco Sys., Inc. v. Uniloc 2017 LLC,

813 F. App’x 495, 498-99 (Fed. Cir. 2020) (reaffirming that “conclusory statements”

about patent eligibility “d[o] not preclude dismissal” on the basis of patent

eligibility).

       Even if the Court were to consider it, Geoscope’s new argument appears to

suggest that the claims require generating a purportedly unconventional, non-

uniform grid as opposed to a conventional, uniform grid. But nothing in the claims

requires generating a non-uniform grid or specifies how to perform that function.

Thus, the Court should reject Geoscope’s argument as irrelevant. Am. Axle, 967

F.3d at 1293. For the same reasons, this Court should ignore Geoscope’s repeated,

unsupported assumption that the “grid points” recited in the claims are “non-uniform

grid points,” which finds no basis in the claim language.9 See, e.g., Br. 40-41.

       2c.      Geoscope also argues that the district court erred by rejecting

Geoscope’s argument that the claims require “new data structures”—the claimed


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  Indeed, the parties agreed at the Markman hearing that the grid points claimed in
the ’753 patent could be uniform or non-uniform, but that the examples in the
specification happened to fall in the latter category. Appx2560; Appx2569-2570.
Even if non-uniform grid points were non-abstract (and they are not), this Court has
made clear that “where there are multiple covered embodiments, and not all covered
embodiments are patent-eligible,” the claims are not patent-eligible. Mentor
Graphics Corp. v. Eve-USA, Inc., 851 F.3d 1275, 1294-95 (Fed. Cir. 2017).

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“grid points”—that “alter the normal operation of the underlying technology.” Br.

45-46. Yet again, nothing in the claims specifies any particular “data structure” for

the recited “grid point,” much less a data structure that is purportedly “new” in some

particular respect. The court’s construction of “grid point”—which Geoscope has

not appealed—requires no specific “data structure” at all. Instead, a “grid point” is

simply non-patent-eligible data—“a point associated with representative calibration

data for an area.” Appx2751-2752.

      For that reason, Geoscope’s reliance on cases like Enfish, LLC v. Microsoft

Corp., 822 F.3d 1327 (Fed. Cir. 2016), and Adasa Inc. v. Avery Dennison Corp., 55

F.4th 900 (Fed. Cir. 2022), is badly misplaced. Br. 45-46; Appx22. In Enfish, the

claims were “specifically directed to a self-referential table for a computer

database,” an improved structure for holding data that this Court emphasized was

“reflected in [the] claim language.” 822 F.3d at 1337 (emphasis in original). The

Enfish claims, as construed, specified a “four-step algorithm” for creating and

organizing such a table that resulted in multiple technological “benefits over

conventional databases, such as increased flexibility, faster search times, and smaller

memory requirements.” Id. at 1336-37. Likewise, the claim in Adasa recited “a

specific, hardware-based RFID serial number data structure designed to enable

technological improvements to the commissioning process”; namely, the claim as

construed required that the “data structure of the serial number space” “include a



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serial number selected from an allocated block and that this serial number comprise

two components: (1) a limited number of MSBs, i.e., a limited, predefined sequence

of higher order bits at the leading end of the serial number, and (2) remaining bits of

lesser significance.” Id. (citation omitted); see also id. at 909.

      The claims here are nothing like those in Enfish or Adasa. They do not specify

any structure for the claimed “grid points” at all, much less a new one. And

Geoscope identifies nothing in the claims or the court’s “grid point” construction

that requires a specific data structure. See Appx22; Appx2751-2752. As a result,

nothing in the claims as construed constitutes “a specific improvement to the way

computers operate,” Enfish, 822 F.3d at 1336 (emphasis added), or a “specific and

concrete technological advance,” Adasa, 55 F.4th at 908 (emphasis added); see

Appx22.

      2d.    Geoscope makes several other far-fetched attempts to analogize its

claims to those at issue in other cases. Br. 46-48. Each attempt lacks merit. The

claims in DDR Holdings, LLC v. Hotels.com, L.P., for example, “overr[ode] the

routine and conventional sequence of events ordinarily triggered by the click of a

hyperlink.” 773 F.3d 1245, 1259 (Fed. Cir. 2014). Specifically, “[i]nstead of [a]

computer network operating in its normal, expected manner by sending [a] website

visitor to [a] third-party website that appears to be connected with the clicked

advertisement, the claimed system generate[d] and direct[ed] the visitor to the



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above-described hybrid web page that present[ed] product information from the

third-party and visual ‘look and feel’ elements from the host website.” Id. at 1259-

60. The claims therefore provided a solution “necessarily rooted in computer

technology in order to overcome a problem specifically arising in the realm of

computer networks”; namely, “retaining website visitors” that would have been

“instantly transported away from a host’s website after ‘clicking’ on an

advertisement and activating a hyperlink” in a conventional system. Id. at 1257.

      Here, unlike in DDR Holdings, Geoscope fails to identify in the ’753 patent

claims any requirement that “overrides” the normal operation of grid points or

improves the technical operation of the system as compared to what grid points had

long been used for in the field of geolocation: to serve as known reference points

on a grid with which to compare data measured by a mobile device. Appx190 (11:8-

13) (“[A] grid-based pattern matching system such as that disclosed herein is

typically dependent on stored received signal level measurements that accurately

reflect the levels that are likely to be reported by the mobile device to be located.”).

      Geoscope also misapplies Thales Visionix Inc. v. United States, 850 F.3d 1343

(Fed. Cir. 2017). Br. 47-48. In Thales, this Court held that claims to a “system for

tracking the motion of an object relative to a moving reference frame” were patent-

eligible because they used “inertial sensors in a nonconventional manner” and

required a “particular,” “unconventional configuration of [the] sensors” “to reduce



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errors in measuring the relative position and orientation of a moving object on a

moving reference frame.” 850 F.3d at 1344, 1348-49; see also Appx11-12. Unlike

the Thales claims, the ’753 patent claims do not require the use of any technology in

a “non-conventional manner” or any “particular” “unconventional configuration” of

components. Instead, the ’753 patent claims either recite no particular components

at all for performing its broadly recited data collection, analysis, and organization

functions, or they involve only well-known, conventional technology like a

“processor” functioning in its routine manner. See Appx11-12; Appx21-23.

      2e.    Finally, Geoscope accuses the district court of ignoring the

specification and requiring that “[e]very single aspect of the invention . . . be recited

in the claims verbatim.” Br. 48-51. Geoscope is incorrect.

      As Geoscope itself recognizes (Br. 49), “‘[t]he § 101 inquiry must focus on

the language of the Asserted Claims themselves,’ and the specification cannot be

used to import details from the specification if those details are not claimed.”

ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759, 769 (Fed. Cir. 2019) (citation

omitted). The district court’s analysis correctly recognized and applied this law.

The court considered the specification as part of its ruling (see, e.g., Appx19), and

indeed as part of its claim construction order (Appx2748-2756), and found that the

claims were nonetheless patent-ineligible.

      Geoscope attempts to paint the district court’s correct application of the law



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as improperly requiring that “[e]very single aspect of the invention . . . be recited in

the claims verbatim.” Br. 50. But the problem with Geoscope’s patent-eligibility

arguments—e.g., that the invention provides a “denser ‘map’ of known locations,”

requires “analysis of the similarity of the calibration data,” and creates “novel,

unconventional data structures” (Br. 40-45)—is not that these concepts are in the

claims using different language; it is that they are not in the claims at all. For that

reason, Geoscope’s reliance on cases like KPN and SRI International, Inc. v. Cisco

Systems, Inc., 930 F.3d 1295, 1303 (Fed. Cir. 2019), is misplaced. Geoscope ignores

that the patent-eligible advances in those cases (as in all of this Court’s precedent)

were, in fact, rooted in the language of the claims. Br. 50. In KPN, the “claims

specifically recite[d]” the concrete, patent-eligible advance performed by a specific

“permutating device.” 942 F.3d at 1151-53. And the SRI claims themselves

“recite[d] using network monitors to detect suspicious network activity based on

analysis of network traffic data, generating reports of that suspicious activity, and

integrating those reports using hierarchical monitors.” 930 F.3d at 1303. Here, in

contrast, the district court correctly held that what Geoscope identified as conferring

patent eligibility is nowhere in the ’753 patent claims and thus cannot save them

from ineligibility. Appx21-22. That analysis is fully consistent with this Court’s

precedent, including KPN and SRI.




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      B.     The Claims Fail Alice Step Two

      To survive Step Two, “an inventive concept must be evident in the claims.”

RecogniCorp, 855 F.3d at 1327 (emphasis added). This “inventive concept must be

‘sufficient to ensure that the patent in practice amounts to significantly more’ than a

patent on the abstract idea.” ChargePoint, 920 F.3d at 773 (emphasis added and

citation omitted). Claims that “merely require generic computer implementation,

fail to transform [an] abstract idea into a patent-eligible invention.” Alice, 573 U.S.

at 221.

      1.     The elements of the ’753 patent claims, whether considered alone or in

combination, fail to offer any inventive concept beyond the abstract idea found at

the heart of the claims. Appx22-23. Claim 1, for example, recites “providing,”

“generating,” “receiving,” “evaluating,” and “selecting” data to “determin[e] the

location of a mobile device.” Appx214 (claim 1). As the court explained, “[e]ach

of the limitations of the asserted claims is broadly written, providing no boundaries

or guidance” as to how to perform the “basic function[s]” they recite, including the

step of “generating one or more sets of grid points.” Appx22-23. The claims “do

not require ‘a new source or type of information, or new techniques for analyzing

it.’” Appx22-23 (quoting Elec. Power, 830 F.3d at 1355).

      A review of each step recited in the two asserted claims only underscores that

they lack any inventive concept. The step of “providing calibration data . . . said



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calibration data having one or more characterizing parameters” fails to specify how

the calibration data is “provided.” Although the specification provides a laundry list

of “exemplary” characterizing parameters (Appx210 (51:42-58)), there is no dispute

that the examples are all known measurement techniques in the location

determination field, such as signal strength, timing advance, time difference of

arrival, cell ID, and wireless network state—and, in any event, the claims specify no

particular parameters at all. See, e.g., Appx189 (9:4-30, 10:9-16); Appx62 (1:21-

24); Appx84 (1:27-30); Appx103 (1:28-31); see Elec. Power, 830 F.3d at 1355.

      In addition, “generating one or more sets of grid points for said calibration

data” merely involves reorganizing the initially collected data. Because the claims

do not limit how the recited set of grid points should be generated for the calibration

data, this step amounts to no more than basic data organization without requiring

any particular technological improvement. See Elec. Power, 830 F.3d at 1355.

Furthermore, “receiving at least one network measurement report from a mobile

device at an unknown location in said geographic region” simply requires collecting

data. As the ’753 patent itself acknowledges, network measurement reports were

“known in the art.” Appx189 (9:53-55). The claims fail to specify how the network

measurement reports are received, much less require a specific technological

improvement to do so. See Elec. Power, 830 F.3d at 1355.




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      The step of “evaluating said at least one network measurement report with

each of said sets of grid points as a function of select ones of said characterizing

parameters” also simply involves the basic function of comparing data.           The

limitation recites using “a function” without specifying what that function is. See

id. at 1355-56. And, regardless, an unspecified “function” is no more than a patent-

ineligible mathematical concept. In re Bd. of Trustees of Leland Stanford Junior

Univ., 991 F.3d 1245, 1250 (Fed. Cir. 2021) (“Courts have long held that

mathematical algorithms for performing calculations, without more, are patent

ineligible under § 101.”).

      Finally, the steps of “selecting a set of grid points as a function of a

predetermined criteria” and “determining the location of a mobile device in said

geographic region as a function of said selected set of grid points” involve only the

basic concepts of analyzing data using undisclosed mathematical algorithms. The

claims impose no limitations on what “functions” or “predetermined criteria” are

used or required to carry out these steps. See Elec. Power, 830 F.3d at 1355.

      System claim 32 adds a generic “processor” and “database.” Appx216

(63:49-67). But these are conventional computer components that function in their

routine manner and thus “add nothing to the inventiveness of the claimed invention.”

Appx23; Sanderling, 65 F.4th at 705 (explaining that the benefits from “applying

the abstract idea on a computer” do not “provide a sufficient inventive concept”)



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(citation omitted). Indeed, “a database adds nothing to the inventiveness of the

claimed invention. And a processor that receives data and is ‘programmed’ to

generate and evaluate data is well-known, conventional, and generic technology that

does not transform the claims into an inventive concept.” Appx23 (citation omitted);

Mortgage Grader, Inc. v. First Choice Loan Servs., Inc., 811 F.3d 1314, 1324-25

(Fed. Cir. 2016) (holding that the claims lacked an inventive concept because they

“‘add[ed]’ only generic computer components such as a[] . . . ‘database’ . . . that

d[id] not satisfy the inventive concept requirement”); Intellectual Ventures I LLC v.

Capital One Fin. Corp., 850 F.3d 1332, 1341 (Fed. Cir. 2017) (holding that the

claims lacked an inventive concept because they “recite[d] both a generic computer

element—a processor—and a series of generic computer ‘components’ that merely

restate their individual functions”).

      Even when considered in combination, these claim elements fail to provide an

inventive concept that amounts to significantly more than “the abstract idea of

determining an unknown location by comparing information about known locations

organized in a database against measurements from a mobile device.” Instead, as

discussed, each of these claim elements either is directed to an abstract concept that

relates to the same abstract idea of “determining an unknown location by comparing

information about known locations organized in a database against measurements

from a mobile device” (Appx20), or requires nothing more than using conventional



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technology functioning in its routine manner to carry out that abstract idea.

ChargePoint, 920 F.3d at 771 (“Adding one abstract idea . . . to another abstract idea

. . . does not render [a] claim non-abstract.”) (citation and alterations omitted).

      2.     Geoscope largely does not dispute any of the foregoing analysis.

Instead, its disagreement with the district court’s Step Two determination simply

regurgitates its Step One argument focusing on “grid points.” Geoscope contends

that “grid points” “are inventive and unconventional” and that the claims

“indisputably include limitations reciting the generation of grid points from

calibration data and the further use of those grid points for geolocation.” Br. 54-55.

      That is wrong. As the district court correctly determined, the recited “grid

point” data element fails to supply an inventive concept.          Appx22-23.         As a

preliminary matter, data or information itself—which is all the claimed grid points

are—is abstract and therefore does not confer patent eligibility. SAP, 898 F.3d at

1167 (“‘Information as such is an intangible,’ hence abstract . . .”) (citing Elec.

Power, 830 F.3d at 1353). In any event, the claims’ recitation of “generating” grid

points fails to “provid[e] any limitation on how the grid points are generated” and

the step of “‘evaluating said at least one network measurement report with each of

said sets of grid points’” “merely requires performing the basic function of

comparing data.” Appx23; Elec. Power, 830 F.3d at 1353-55. In other words, as

the district court explained in its Step One analysis, the recited “grid point” element



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amounts to no more than the abstract idea itself: data collection, organization, and

analysis. Appx20-21; supra pp. 21-37. Just as these steps already formed the basis

for the abstract idea, none is sufficient to add an inventive concept beyond that

abstract idea. BSG Tech LLC v.Buyseasons, Inc., 899 F.3d 1281, 1290 (Fed. Cir.

2018) (“It has been clear since Alice that a claimed invention’s use of the ineligible

concept to which it is directed cannot supply the inventive concept that renders the

invention ‘significantly more’ than that ineligible concept.”).

      3.     Finally, relying on Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306 (Fed.

Cir. 2019), Geoscope argues that the district court “failed to credit the allegations in

the complaints regarding inventiveness, leading it to improperly resolve factual

disputes against Geoscope.”10 Br. 52-54. This argument fails for several reasons.

      As even Geoscope concedes (Br. 53), the court did consider those allegations

in the complaint, noting Geoscope’s allegations that the ’753 patent “involves

purported improvements to methods of geolocation using ‘grid points’ based on

calibration data,” and “led to a more robust and denser map of known locations that

could be used to locate a mobile device.” Appx19 (citing, e.g., Appx369-370 ¶¶ 58,


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   Geoscope also broadly and incorrectly contends that “[t]he Alice Step Two inquiry
is a question of fact,” Br. 52, citing this Court’s decision in Aatrix Software, Inc. v.
Green Shades Software, Inc., 882 F.3d 1121 (Fed. Cir. 2018). That is not what this
Court held in Aatrix. Rather, in Aatrix, this Court explained that “[w]hile the
ultimate determination of eligibility under § 101 is a question of law,” “there can be
subsidiary fact questions which must be resolved en route to the ultimate legal
determination.” 882 F.3d at 1128 (emphasis added).

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60) (internal quotation marks omitted). The court held that, even considering those

facts in the most favorable light for Geoscope, merely “generating” “grid points”

does not supply an inventive concept as a matter of law. For instance, the step

amounts to no more than a broad instruction “without providing any limitation on

how the grid points are generated.” Appx23. Indeed, as discussed above, the court

had already determined at Step One that the “grid point” claim element “do[es] not

focus on a specific means or method that would improve the relevant technology”

and instead is—like the rest of the claim elements—“drafted at a high level of

generality.” Appx21-22. Contrary to Geoscope’s assertion (Br. 53 n.8), the court

was not required to restate in its Step Two analysis the argument that Geoscope

made—and that the court had already rejected—at Step One. See Gen. Elec. Co. v.

Williams, 750 F.3d 1324, 1331 (Fed. Cir. 2014) (stating that a court is not required

to “dismiss th[e] same evidence for [a] second time”).

      Thus, Geoscope’s reliance on Cellspin is misplaced. In Cellspin, this Court

held only that a court should consider well-pleaded allegations about inventiveness

where “what makes the claims inventive is recited by the claims.” 927 F.3d at 1317-

18 (emphasis added). Here, the district court already had rejected—correctly—

Geoscope’s allegations as having no basis in the claim language. Appx21-22.

      Furthermore, the allegations at issue are merely conclusory statements that are

insufficient to survive a Rule 12 motion. Significantly, the allegations fail to explain



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how, for instance, the claims require “generat[ing] additional non-uniform grid

points” to result in a “robust and denser ‘map’ of known locations.” Appx275-76

¶ 60; Appx370 ¶ 60. And, again, the allegations find no support in the language of

the claims. Thus, the court correctly declined to credit these conclusory assertions.

Trinity Info Media, LLC v. Covalent, Inc., 72 F.4th 1355, 1365-66 (Fed. Cir. 2023)

(holding that “conclusory allegations” in the complaint “that the prior art lacked

elements of the asserted claims are insufficient to demonstrate an inventive

concept”); Dropbox, Inc. v. Synchronoss Techs., Inc., 815 F. App’x 529, 538 (Fed.

Cir. 2020) (agreeing with the district court that “conclusory allegations” in the

complaint concerning patent eligibility were “insufficient to survive a motion to

dismiss”).

        The Appealed Claims of the ’104 Family Are Not Patent-Eligible
ill .
        The same problems doom the appealed claims of the ’104 Family. Like the

claims of the ’753 patent, the ’104 Family claims also are directed to “determining

location based on data,” as the district court correctly held. Appx10. The only

distinctions relevant here are that the ’104 Family claims also require “modifying”

observed network measurement data, and that they specify that the grid points are

“non-uniform.” Neither saves them from ineligibility.




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      A.     The Claims Fail Alice Step One

      1.     The “principal steps” of the appealed claims of the ’104 Family “are

both broad and generic”:      “‘determining a location of a mobile station’ by

(1) ‘providing a database’ of previously-collected data; (2) ‘collecting’ observed

network measurement data, (3) ‘modifying’ that data; and (4) ‘comparing’ the

modified data with the database.” Appx10.

      Thus, the district court correctly determined that, similar to the claims of the

’753 patent, the claims of the ’104 Family “focus on the abstract concept of data

collection and modification for the purpose of geolocation of mobile devices.”

Appx10-11 (citing, e.g., Elec. Power, 830 F.3d at 1353-54; Content Extraction, 776

F.3d at 1347; Automated Tracking, 723 F. App’x at 991); see supra pp. 11-18.11

      Contrary to Geoscope’s assertion, the “modifying” step of the claims does not

confer patent eligibility. Appx12-14. As it argued to the district court, Geoscope

contends on appeal that this “modifying” step “eliminate[s] disparities” between data

collected “outdoors versus indoors,” which “prevent[s] an ‘apples and oranges’



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  The district court disagreed with Defendants that claim 1 of the ’494 patent was
representative of the challenged claims of the ’104 Family. Appx8-9. In its opening
brief, Geoscope acknowledged that the appealed claims of the ’104 Family all “add
the same limitation to the independent claim from which they depend: ‘wherein said
database comprises previously-gathered calibration data for one or more non-
uniform grid points within said region.’” Br. 55-56. Thus, claim representativeness,
including whether unappealed claim 1 of the ’494 patent is representative of the ’104
Family claims, is not at issue in this appeal.

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comparison.” Br. 57-58; Appx2702. Geoscope argues that this “represents a patent-

eligible improvement to the process of geolocation.” Br. 57-58; Appx2702. But the

claims themselves—the “focus” of the patent-eligibility inquiry—are not limited to

modifying data to eliminate the disparities between indoor data and outdoor data.

Appx13. Indeed, the appealed claims of the ’104 Family do not even use the words

“indoor” or “outdoor.” Instead, this “modifying” step “is written in extremely broad

terms,” and “simply recites a method whereby one must ‘modify[] said observed

network measurement data,’ without any specificity as to how to carry out the

‘modifying’ function.” Appx13 (emphasis in original).

      As the district court also correctly observed, “Geoscope’s claimed advance—

modifying data—is itself an abstract concept.” Appx14. Indeed, the specification

confirms that this “modifying” function can be achieved simply by “subtracting or

adding” to and from the data. Appx106 (7:7-10). This Court has held that modifying

or manipulating data alone does not confer eligibility. Appx14-15 (citing, e.g., Elec.

Power, 830 F.3d at 1355) (“Merely requiring the selection and manipulation of

information . . . by itself does not transform the otherwise-abstract processes of

information collection and analysis.”); Univ. of Fla. Res. Found., Inc. v. Gen. Elec.

Co., 916 F.3d 1363, 1368 (Fed. Cir. 2019) (ineligible claims to the “abstract idea of

collecting, analyzing, manipulating, and displaying data”) (internal quotation marks

omitted); Hawk Tech., 60 F.4th at 1358 (ineligible claims that “at most recite[d]



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abstract data manipulation”); see also Realtime, 2023 WL 4924814, at *10

(ineligible “‘data manipulation’ claims that are recited at a high ‘level of result-

oriented generality’ and that lack ‘sufficient recitation of how the purported

invention[s]’ accomplish the results”) (quoting KPN, 942 F.3d at 1152).

      Finally, as the district court correctly determined, the “grid point” element

recited in the appealed claims—“wherein said database comprises previously-

gathered calibration data for one or more non-uniform grid points within said

region”—does not confer patent eligibility. Appx16-17. As the court explained,

contrary to Geoscope’s assertion that the “‘grid point’ component is ‘something new

that must be determined from the analysis of calibration data,’” the claims “merely

involve collecting a certain kind of data without requiring a new or improved manner

of collecting, using, or creating that data,” and fail to “articulate with specificity how

the grid points are determined or analyzed.” Id.; see also SAP, 898 F.3d at 1167

(citing Elec. Power, 830 F.3d at 1353).

      2.     On appeal, Geoscope does not dispute that the claims’ “principal steps”

of collecting, modifying, and comparing data are “both broad and generic,” or that

“the basic function of determining location based on the collection and analysis of

data” was well-known “in the context of mobile devices.” Appx10. And Geoscope

addresses none of the district court’s cited cases in which this Court held ineligible




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claims similarly focused on the abstract idea of collecting, modifying, and analyzing

data, including to determine location. Appx10-14; cf. Killian, 45 F.4th at 1383.

      Instead, Geoscope makes two primary arguments challenging the district

court’s judgment.12 First, Geoscope repeats its assertion that the claims involve

modifying data to “eliminate disparities” between outdoor data and indoor data,

which Geoscope contends arise from “differences in signal propagation outdoors

versus indoors.” Br. 57. As explained above, however, the claims are not limited to

“eliminating disparities” between outdoor and indoor data (nor are the words

“outdoor” or “indoor” even recited in the claims), and the mere instruction of

“modifying” data—as recited in the claims—is itself an abstract idea. Appx13-14;

supra pp. 46-47. Geoscope simply ignores the district court’s reasoning without

attempting to explain why it was wrong. Br. 57-58.

      Second, Geoscope again heavily relies on the recited “grid point” data. Br.

58-61. But Geoscope fails to confront the district court’s rejection of this claim

element as a basis for patent eligibility; namely, that these claims “merely involve

collecting a certain kind of data without requiring a new or improved manner of


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  Geoscope again attempts to mischaracterize the district court’s analysis as “almost
non-existent,” focusing only on the court’s specific discussion of the additional
limitation recited in the appealed claims of the ’104 Family, which are dependent
claims. Br. 60 (citing Appx16-17); Tesco Corp., 804 F.3d at 1379. Geoscope
ignores that the court issued a reasoned, 23-page decision that included a detailed
analysis of the appealed claims’ other limitations as found in their corresponding
independent claims. Appx10-17.

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collecting, using, or creating that data,” and that they otherwise fail to “articulate

with specificity how the grid points are determined or analyzed.” Appx16-17. The

claim language confirms that the claims simply require a “database [that] comprises

previously-gathered calibration data for one or more non-uniform grid points within

said region,” without any other detail about the “non-uniform grid points” or even

how the “previously-gathered calibration data” has been collected. Id. Geoscope’s

argument thus fails for the same reasons explained above with respect to the ’753

patent. Supra pp. 21-37.13

      B.     The Claims Fail Alice Step Two

      1.     The district court correctly held that the elements of the appealed claims

of the ’104 Family, whether considered alone or in combination, lack any inventive

concept that is “‘significantly more’ than the abstract idea” of determining location

based on data. Appx17-18. Each claim involves nothing more than “some limitation

related to the collection, modification, or comparison of data—each of which are

abstract ideas in themselves that cannot supply the inventive concept.” Appx17.

      The additional limitations of the appealed claims likewise do not save the

claims from ineligibility at Alice Step Two—and Geoscope does not contend



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  Not even Geoscope argues that the distinction between “grid points” in the ’753
patent claims and “non-uniform grid points” in the appealed claims of the ’104
Family makes any difference for patent-eligibility. See, e.g., Br. 58 (acknowledging
that “grid points” are “the same” across all appealed claims).

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otherwise. Appx18. For example, claim 1 of the ’358 patent merely recites

“circuitry” to carry out the functions of collecting, modifying, and comparing data.

Appx18; Appx90 (13:7-18, 13:27-29). As the district court determined, however,

this amounts to “simply employ[ing] well-known and conventional data or

components in a conventional manner.” Appx18. In addition, claim 2 of the ’104

patent recites “determining which” of two signal characteristics “has a greater

magnitude,” and claim 26 of the ’494 patent recites “determining an average value”

of selected signal characteristics. Appx67 (11:66-12:18); Appx109 (14:7-23). But

these claims “fail to recite how” these “simple mathematical concepts” are employed

and, regardless, the mathematical concepts are themselves abstract and thus

“insufficient to confer an inventive concept.” Appx18 (citing Stanford, 991 F.3d at

1251).

      Furthermore, the “non-uniform grid points” recited in the appealed claims also

fail to provide the requisite inventive concept. Appx18. As the district court

explained, “the language of the claims invoking grid points does not specify how

grid points are generated or analyzed. Nor do the claims recite using the data in a

novel or improved manner.” Appx18; see also Appx16-17. The claims thus “do no

more than combine known techniques that yield only expected results” and include

no claim elements that “amount to ‘significantly more’ than the abstract idea of

determining location based on data.” Appx18.



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      Finally, the combination of these claim elements likewise fails to add an

inventive concept because each of the claim elements either is directed to nothing

more than abstract concepts related to the abstract idea of determining location based

on data, or requires only well-known and conventional technology functioning in its

routine manner. Thus, even when considered in combination, the claim elements

provide no inventive concept beyond that abstract idea.           See, e.g., Appx17;

ChargePoint, 920 F.3d at 771.

      2.     Geoscope’s challenge to the district court’s Step Two analysis is limited

to two aspects of the appealed claims: “modification of observed measurement data”

and “non-uniform grid points.” Br. 61-62. But, again, Geoscope simply repeats its

Step One arguments that the step of “modifying” data and “grid point” limitation are

unconventional. Compare Br. 57-59, with Br. 61-62.

      As an initial matter, both claim elements are part of the abstract idea itself and

therefore cannot provide an inventive concept at Step Two. “It has been clear since

Alice that a claimed invention’s use of the ineligible concept to which it is directed

cannot supply the inventive concept that renders the invention ‘significantly more’

than the ineligible concept.” BSG, 899 F.3d at 1290. These claim elements are also

themselves abstract, and therefore cannot serve as “non-abstract features” that might

provide an inventive concept. Id. at 1291; see supra pp. 42-43, 46-50.




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      Furthermore, as to the step of “modifying” data, other than stating the bare

conclusion that it is “unconventional” and “led to concrete technological benefits,”

Geoscope never explains why. Br. 61. Geoscope cites its complaints in support of

its assertion, but the allegations it cites focus on the purported elimination of

disparities between indoor and outdoor data. Appx269-274 ¶¶ 49, 53, 57. As the

district court correctly held at Step One, these arguments are irrelevant to the inquiry

at hand because they are “‘not tethered to the asserted claims’ themselves.” Appx13

(quoting Trinity Info Media, 72 F.4th at 1364) (emphasis omitted); cf. Cellspin, 927

F.3d at 1317. Contrary to Geoscope’s assertions, the court was not required to reject

the same incorrect argument twice and, in any event, Geoscope makes no attempt to

identify any claim limitation requiring the elimination of disparities between indoor

and outdoor data. General Elec., 750 F.3d at 1331.

      Geoscope repeats its argument regarding the “grid point” limitation of the

’753 patent, which fails for similar reasons. Geoscope merely concludes that these

“non-uniform grid points” are “unconventional.”           Br. 61-62.    And although

Geoscope again contends that the complaints “include[d] well-pleaded allegations”

regarding this purportedly “inventive” aspect of the claims, the allegations in the

complaints regarding the ’104 Family make no mention of “non-uniform grid

points”—or even “grid points”—at all, much less allege that they are a core feature

of the claims that might provide an inventive concept. Appx269-274 ¶¶ 48-57.



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Thus, Geoscope’s conclusory argument cannot save the claims or create a purported

factual dispute at Step Two. Trinity Info Media, 72 F.4th at 1365-66; Dropbox, 815

F. App’x at 538.

                                  CONCLUSION

      For the foregoing reasons, this Court should affirm the district court’s

judgment that the asserted claims of the ’753 patent and ’104 Family are not patent-

eligible under Section 101.



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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 26, 2024, I served a copy of the foregoing

brief on all counsel of record via this Court’s CM/ECF system.


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